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Case: 2:06-cv-00190-GLF-NMK Doc #: 2 Filed: 03/13/06 Page: 2 of 17 PAGEID #: 4
Case: 2:06-cv-00190-GLF-NMK Doc #: 2 Filed: 03/13/06 Page: 3 of 17 PAGEID #: 5
Case: 2:06-cv-00190-GLF-NMK Doc #: 2 Filed: 03/13/06 Page: 4 of 17 PAGEID #: 6
Case: 2:06-cv-00190-GLF-NMK Doc #: 2 Filed: 03/13/06 Page: 5 of 17 PAGEID #: 7
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Case: 2:06-cv-00190-GLF-NMK Doc #: 2 Filed: 03/13/06 Page: 13 of 17 PAGEID #: 15
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